      Case 1:16-cv-12560-NMG Document 31 Filed 02/13/18 Page 1 of 2



                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS



KEVIN C. ROBINSON,
     Plaintiff
                                      CIVIL ACTION NO.
                                      1:16-cv-12560-NMG
v.

TOWN OF MARSHFIELD, ROCCO
LONGO, in his Official
Capacity and individually, and
JOHN E. HALL, in his official
capacity and individually,
     Defendants


       PLAINTIFF’S OPPOSITION TO MOTION TO QUASH SUBPOENA
                   AND FOR A PROTECTIVE ORDER

     Plaintiff, Kevin C. Robinson (“Robinson”), hereby opposes

the Motion to Quash and For a Protective Order filed by Loredo &

Smith (“L&S”).   As grounds therefore, Robinson states that L&S is

not entitled to the relief sought.      Robinson offers the attached

Memorandum of Law in support of his opposition.

                                       PLAINTIFF,
                                       KEVIN C. ROBINSON
                                       By his Attorneys,

                                       /S/ Marisa A. Campagna
                                       ______________________________
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Dated: February 13, 2018
 Case 1:16-cv-12560-NMG Document 31 Filed 02/13/18 Page 2 of 2




                  CERTIFICATE OF SERVICE

I hereby certify that this document has been filed through
the ECF system and will be sent electronically to the
registered participants identified on the Notice of
Electronic Filing and by first class mail, postage prepaid,
on February 13, 2018, to those identified as non-registered
participants.

                                  /s/ Marisa A. Campagna
                                  ______________________________
                                  Marisa A. Campagna
